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ar LaMar aia tcey an eelCey a CoMTs Yate MaNAolll ate yatce

_ United States Bankruptcy Court for the:

_ Southern District of Florida

_ Case number (ifknown): Chapter you are filing under:

C) Chapter 7 | CJ Check if this is an

OQ Chapter 14 Is
Cl Chapter 12 amended filing

4 Chapter 13

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/22

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debfor 7 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Your full name
CHARLOTTE
Write the name that is on your Fretname First name
government-issued picture
identification (for example, GILMORE

your driver's license or Middle name Middle name
passport). DURANTE
Last name Last name

Bring your picture
identification to your meeting
with the trustee. Suffix (Sr, Jr., Hl, Ill)

Suffix (Sr., Jr., Hl, IN)

2. All other names you s -
have used in the last 8 Fist name First name
years

Middle name Middle name
Include your married or
maiden names and any

f
assumed, trade names and past naine Lest Rete
doing business as names. _
. First name First name
Do NOT list the name of any
separate legal entity such as :
i 7 idl
a corporation, partnership, or Middle name Middle name
LLC that is not filing this
petition. Last name Last name
Business name (if applicable) Business name (if applicable)
Business name (if applicable) Business name (if applicable)
| 3. Only the last 4 digits of 4 5 4 4
| your Social Security XXX XX RO XK —
i number or federal OR OR
Individual Taxpayer 9 9
| Identification number XX — XX — A AK
JATIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

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CHARLOTTE GILMORE DURANTE

First Name Middle Name Last Name

Debtor 1 Case number (if known)

| 4. Your Employer
_ Identification Number
(EIN), if any.

| 5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

About Debtor 1:

4165 NW 10th STREET

About Debtor 2 (Spouse Only in a Joint Case):

EIN”

EIN

lf Debtor 2 lives at a different address:

Number Street Number Street

DELRAY BEACH FL 33445

City State ZIP Code City State ZIP Code
PALM BEACH

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

Yi over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

C) Over the last 180 days before filing this petition,
I have lived in this district longer than in any
other district.

(C1 I have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2

Debtor 1

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CHARLOTTE GILMORE DURANTE

Case number (if known),

First Name

Middle Name

Last Name

Tell the Court About Your Bankruptcy Case

I

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

11.

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

C) Chapter 7

Q) Chapter 11
CQ Chapter 12
4 Chapter 13

C) 1 will pay the entire fee when I file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

C) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

No
Cl Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
No
Cl Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known.
MM/DD/IYYYY
WNo. Goto line 12.
(Yes. Has your landlord obtained an eviction judgment against you?

C) No. Go to line 12.

Q) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

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Debtor 1 CHARLOTTE GILMORE DURANTE Coss numberdinont

First Name Middle Name

Last Name

ERE Feror About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

13. Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S. C.§
1182(1)?

For a definition of small
business debtor, see
11 U.S.C. § 101(51D).

Official Form 101

Wi No. Go to Part 4,

Yes. Name and location of business

Name of business, if any

Number Street

City State ZIP Code

Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
U) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

CJ None of the above

'f you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
choosing to proceed under Subchapter V so that it can set appropriate deadlines. if you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

{4 No. | am not filing under Chapter 11.

C) No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

UO) Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy
Code, and I do not choose to proceed under Subchapter V of Chapter 11.

C) Yes. tam filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Voluntary Petition for Individuals Filing for Bankruptcy page 4

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Debtor 1 CHARLOTTE GILMORE DU RANTE Case number (if known)

First Name Middle Name Last Name

EE cron if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you ownorhave any (No
roperty that poses or is
siete nie a threat Cl Yes. What is the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5

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Debtor 1 CHARLOTTE GILMORE DURANTE

First Name Middle Name

Last Name

Case number (if known)

ERE mrrain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

WH I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

QO Ireceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after yau file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

OQ I certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C2 tam not required to receive a briefing about
credit counseling because of:

(CJ Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

O I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

() | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cl tam not required to receive a briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 6

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Debtor 1

CHARLOTTE GILMORE DURANTE

Case number (if known),

First Name

Middle Name

Last Name

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution

_to unsecured creditors?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C) No. Go to line 16b.
(4 Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

(2 No. Go to line 16c.
C) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

(4 No. | am notfiling under Chapter 7. Go to line 18.

C) Yes. am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you |
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

asa Sign Below

() $50,001-$100,000
CI $100,001-$500,000

$500,001-$1 million

C) $0-$50,000

CJ $50,001-$100,000
@ $100,001-$500,000
CQ $500,001-$1 million

C) $10,000,001-$50 million
CJ $50,000,001-$100 million

C) $1,000,001-$10 million

UJ $10,000,001-$50 million
CJ $50,000,001-$100 million
CJ $100,000,001-$500 million

CJ $100,000,001-$500 million

Q No
C] Yes
1-49 C) 1,000-5,000 C 25,001-50,000
C) 50-99 CJ 5,001-10,000 CI 50,001-100,000
CJ 100-199 U] 10,001-25,000 (J More than 100,000
200-999 Oo
C $0-$50,000 C) $1,000,001-$10 million C) $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
CI $10,000,000,001-$50 billion

CJ More than $50 billion

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
C $10,000,000,001-$50 billion
O) More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C.-88A52, 1341, 1519, and 3571.
YO ;
his Laredo eis Be
Signature of Debtor 1 _ Signature of Debtor 2
Executed on O Y/g MO. AY Executed on
MM 47 DD? 7YYYY MM / DD /YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

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Debtor 1 CHARLOTTE GILMORE DU RANTE Case number (if known),

First Name “Middle Name Last Name

I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do not

For your attorney, if you are
represented by one

need to file this page. x
Date
Signature of Attomey for Debtor MM / ODD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8

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debtor? CHARLOTTE GILMORE DURANTE Case UNbBE Hino)

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C) No
@ Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CJ) No
Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

wd No

CJ Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

My ef yf lb pe J fee x

ri

Signature of Debto Signature of Debtor 2
Date O: 4, a O24 Date
Myi/ DD &1YYYY MM/ DD /YYYY

Contact phone 5 G L - TE G- 0 3 O/ Contact phone

Cell phone 5 Gl - 7 & g- oO 5o/ Cell phone

Email address Cc ¢ dur a the € &/ ZA. Coir Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9

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LAT aT code ta teceLamcoM tol -VatetAVANYZ oll atorVSPMET Ts Mat ui faye a

Debtor1 CHARLOTTE GILMORE DURANTE

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Florida [-]

Case number

Official Form 106A/B
Schedule A/B: Property

UL] Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

FEA vescrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CI No. Go to Part 2.

a Yes. Where is the property?

What is the property? Check all that apply.
Ww Single-family home

C) Duplex or multi-unit building

Q) Condominium or cooperative

O) Manufactured or mobile home

11, 4165 NW 10th STREET

Street address, if available, or other description

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$ 525,307.00 g 925,307.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

C) Land
DELRAY BEACH, FL 33445 . investment property
City State ZIP Code Timeshare
C) Other
Who has an interest in the property? Check one. FEE SIMPLE
PALM BEACH W& debtor 1 only
County CL) Debtor 2 only

CI Debtor 4 and Debtor 2 only
Q) At least one of the debtors and another

C) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number: 12-42-46-12-14-001-0440

If you own or have more than one, list here:
What is the property? Check all that apply.
QO Single-family home

1.2. OQ Duplex or multi-unit building

Street address, if available, or other description

CO) Condominium or cooperative
QO Manufactured or mobile home
QQ) Land

QO Invesiment property

QO Timeshare

O) other

City State ZIP Code

Who has an interest in the property? Check one.

Q) Debtor 1 only
County 1 Debtor 2 only
C1 Debtor 1 and Debtor 2 only
C} At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

C] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

Official Form 106A/B Schedule A/B: Property

page 1

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Debtor 1

CHARLOTTE GILMORE DURANTE

First Name Middle Name

1.3.

Last Name

Street address, if available, or other description

City State ZIP Code

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here.

ietawee Describe Your Vehicles

What is the property? Check all that apply.
C] Single-family home

Q Duplex or multi-unit building

Q Condominium or cooperative

() Manufactured or mobile home

CQ] Land

C) investment property

C] timeshare

Q other

Who has an interest in the property? Check one.
Q) Debtor 4 only

C) Debtor 2 only

Q Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

Case number (i known)

Do not deduct secured claims or exemptions. Put
the arnount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

CO) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

525,307.00

*eeneneeonnereen se Beene pee mas esesnnannnn es aNabone

someon

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Wu No
Cl Yes

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

if you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.
QO] Debtor 4 only

C) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

C2) At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C2 Debtor 4 only

Cl Debtor 2 only

( Debtor 1 and Debtor 2 only

UO) At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
$ $

page 2

Case 24-13870-MAM Doc1_ Filed 04/23/24 Page 12 of 29

Debtor1 CHARLOTTE GILMORE DURANTE

Case number (f known)

First Name Middle Name Last Name
3.3. Make: Who has an interest in the pr operty? Check one. 9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: Q Debtor 1 only Creditors Who Have Claims Secured by Property.
Year Q) Debtor 2 only

Approximate mileage:

Other information:

C) Debtor 4 and Debtor 2 only
C) At least one of the debtors and another

Cl Cheek if this is community property (see

Current value of the Current value of the
entire property? portion you own?

instructions)
3.4. Make: Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
QO Debtor 1 oni the amount of any secured claims on Schedule D:
Model: ebtor’! only Creditors Who Have Claims Secured by Property.
y, C Debtor 2 only
ear:

Approximate mileage:

Other information:

CQ) Debtor 4 and Debtor 2 only
C) At least one of the debtors and another

UL] Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
C) Yes
4.1. Make: Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
QO Debtor 1 onl the amount of any secured claims on Schedule D:
Model: SDLOr only Creditors Who Have Glaims Secured by Property.
y OQ) Debtor 2 only
ear:

If you own or have more than one, list here:

Other information:

C] Debtor 1 and Debtor 2 only
(2 At least one of the debiors and another

C) Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

4.2, Make: Who has an interest in the property? Check one. Do not deduct secured claims or exemptions. Put
QO bebtor 1 ont the amount of any secured claims on Schedule D:
Model: eB LOF t Only, Creditors Who Have Claims Secured by Property.
Year CQ} Debtor 2 only
ear:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Other information:

Official Form 106A/B

(J Debtor 4 and Debtor 2 only
C) At least one of the debtors and another

UC) Check if this is community property (see
instructions)

Current value of the Current value of the

entire property? portion you own?

5 0.00

Schedule A/B: Property

page 3

Case 24-13870-MAM Doc1_ Filed 04/23/24 Page 13 of 29

Debtor? CHARLOTTE GILMORE DURANTE

Case number (if known),

First Name Middle Name Last Name

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
C) No . . .
W Yes. Describe......... stove, refrigerator, furniture in 3br, lv. dr, bed linen, towels, home office
furniture (computer desk, desk chair), dishes, pot & pans
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

CI No

Yes. Describe.......... yr 2000 TV, yr1994 radio, yr2015 computer & printer, yr2017 flip-top cell phone,

12 music CDs, 16 VHS recorded tapes

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
W No

(2 Yes. Deseribe..........

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

UW No
Cl Yes. Describe..........

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

W No ,
C} Yes. Describe..........

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C) No
Yes. Describe.......... everyday clothes & church wear clothes, basic shoes, basic non-designer
accessories

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

Cl) No

1 Ves. Describe. everyday costume jewelry

13.Non-farm animals
Examples: Dogs, cats, birds, horses
No
C} Yes. Deseribe...........

44. Any other personal and household items you did not already list, including any health aids you did not list

OQ} No
Yes. Give specific
information. ............ wheelchair, walker, 4 prong cane

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here

Official Form 106A/B Schedule A/B: Property

>

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

$ 3,000.00
$ 300.00
$
$
$
g * 250.00
5 20.00
$
$ 150.00
$ 3,720.00
page 4

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Debtor1 9 CHARLOTTE GILMORE DURANTE

Case number (if known)

First Name Middle Name Last Name
Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
QO No
Yes..... ise CSNY sc ssivsccceereuecn eras $ 10.23
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
C) No
WD Ves. eccccessessssnee Institution name:
17.1. Checking account: CapitalOne $ 207.14
17.2, Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
WY No
CD Yes. cee institution or issuer name:
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
u No Name of entity: % of ownership:
C) Yes. Give specific 0% % $
information about 0%
HREM... eeeececceceeeeee 9 %
0%

Official Form 106A/B Schedule A/B: Property page 5

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Debtor1 CHARLOTTE GILMORE DURANTE C258 HIRD AY irom

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

a No
C) Yes. Give specific Issuer name:
information about
THEM. esseesssssseesesens $
$
$
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keagh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
(J Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: §
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments /
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
id No
TD FeB vcccnseaesmesssnc institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: g
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
CDV OS eeceecccsssssssssecceee _ Issuer name and description:
$
$
§

Official Form 106A/B Schedule A/B: Property page 6

Case 24-13870-MAM Doc1_ Filed 04/23/24 Page 16 of 29
Debtor1 CHARLOTTE GILMORE DURANTE

Case number (i xnown)
First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
WY No ,
CD Ves nc ccsssessseseeese

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

W No

C) Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WY No

C) Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

W No

C) Yes. Give specific
information about them.... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
No
C) Yes. Give specific information
about them, including whether

you already filed the returns State:
and the tax years. ....:seseseeseees

Federal:

Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlernent

W No

Cl Yes. Give specific information...............

Alimony: $
Maintenance: $
Support: $

Divorce settlement: $
Property settlement: S$.
30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
YW No

Q) Yes. Give specific information...............

Official Form 106A/B Schedule A/B: Property page 7

Case 24-13870-MAM Doc1_ Filed 04/23/24 Page 17 of 29
Debtor1 CHARLOTTE GILMORE DURANTE

Case number (# known),
First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Heatth, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

CJ No

4 Yes. Name the insurance company

Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ... ? "

Citizens Insurance (homeowner's ins) Charlotte G. Durante $ 265.00

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

i No

CQ) Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No
CI Yes. Describe each Chaim. ..ccccsccccssssuee.

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

No
CI Yes. Describe each Claim. -accsscseecocsee

35. Any financial assets you did not already list

No
C) Yes. Give specific information............

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 482.37
for Part 4. Write that number here > $ 82.

ois Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
C) Yes. Go to fine 38.

Current value of the
portion you own?
Do not deduct secured claims

or exemptions.
38. Accounts receivable or commissions you already earned
@ No
C) Yes. Describe.......
$

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

No
C] Yes. Deseribe....... $

Official Form 106A/B Schedule A/B: Property page 8

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Debtor1 CHARLOTTE GILMORE DURANTE

First Name Middle Name Last Name

Case number (i known)

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

UW No

C) Yes. Describe.......

$
41. Inventory
WW No
CI Yes. Describe....... $
42. Interests in partnerships or joint ventures
W No
Cl Yes. Describe....... Name of entity: % of ownership:
% $
% $
% $
43. Customer lists, mailing lists, or other compilations
ld No
C] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
CJ No
U) Yes. Describe........
$
44. Any business-related property you did not already list
Wd No
C) Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here >

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
W No. Go to Part 7.
CQ) Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
id No
CD Ves ccccccssesseseessen
$

Official Form 106A/B Schedule A/B: Property page 9

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Debtor? CHARLOTTE GILMORE DURANTE

Case number (if known),
First Name Middle Name Last Name

48. Crops—either growing or harvested

W no

(2 Yes. Give specific
information. ............ $

W No

51. Any farm- and commercial fishing-related property you did not already list
@ No

LU Yes. Give specific
information. ............ $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00

for Part 6. Write that number here . >

EAN Pescrite All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No
(2 Yes. Give specific §
information. ............ .

54. Add the dollar value of all of your entries from Part 7. Write that number here > s_____—~.00

List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 > $525,307.00

56. Part 2: Total vehicles, line 5 g__———=.00

57.Part 3: Total personal and household items, line 15 $ 3,720.00

58, Part 4: Total financial assets, line 36 $ 482.37

59. Part 5: Total business-related property, line 45 $ 0.00

60: Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61. Part 7: Total other property not listed, line 54 +S 0.00

62. Total personal property. Add lines 56 through 61. ............---...- $ 4,202.37 Copy personal property total > + $ 4,202.37

63. Total of all property on Schedule A/B. Add line 55 + line 62 $ 929,509.37

Official Form 106A/B Schedule A/B: Property page 10

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LUT atin tcola tare lateda mem (el lay tia Zale] ater: ie

Debtor 4 CHARLOTTE GILMORE DURANTE

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of

Case number C) Check if this is an
(If known) 4
amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

ERED tcencity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

w You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
i . s Bankruptcy Code
description,  Siigle family home $525,307.00 O¢ piey
Line from 100% of fair market value, up to
Schedule A/B: 1.1 any applicable statutory limit
Brief
description: $$ —s—i“‘(iamséCD
Line from C 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory limit
Brief
description: st CG
Line from C} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
wf No
Cl Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
Q No
UW Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

Case 24-13870-MAM Doc 1

Debtor 4 CHARLOTTE GILMORE DURANTE

First Name

EE aseitona Page

Last Name

Filed 04/23/24 Page 21 of 29

Case number (i known)

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Current value of the
portion you own

Amount of the exemption you claim

Check only one box for each exemption

C) 100% of fair market value, up to

C) 100% of fair market value, up to

C} 100% of fair market value, up to

Copy the value from
Schedule A/B
$ C$

any applicable statutory limit
$ Cs

any applicable statutory limit
$ Cis

any applicable statutory limit
$ Os

C1) 100% of fair market value, up to
any applicable statutory limit

ls

CD 100% of fair market value, up to
any applicable statutory limit

C] 100% of fair market value, up to

CJ 100% of fair market value, up to

C) 100% of fair market value, up to

$ Os

any applicable statutory limit
$ Os

any applicable statutory limit
$ Lis

any applicable statutory limit
$ Os

C) 100% of fair market value, up to
any applicable statutory limit

Cis

(2) 100% of fair market value, up to
any applicable statutory limit

Qs
C] 100% of fair market value, up ta
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

page 2 of 2_

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PHT Mtn tnt em raucena ante vateda mom (oKoUn eta Ap Zone Lest

nestor CHARLOTTE GILMORE DURANTE
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Florida
Case number < Bhotx #
(renown) U) Check if this is an

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

4. Do any creditors have claims secured by your property?
(2 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
WH Yes. Fill in all of the information below.

eee bist All Secured Claims
Column A Column B Column C

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amountofclaim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name.

value of collateral. claim If any
BUNGALOW SERIES II] TRUST Describe the property that secures the claim: $ 140,000.00 525,307.00 $
Gredifor's Nam oT eo
neewrseme ‘single family 4br 2ba home at 4165 NW
sae sueee (1 Oth St. Delray Beach, FL 33445 a
As of the date you file, the claim is: Check ail that apply.
CQ Contingent
0 unliquidated
City State ZIP Code 2 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
W Debtor 1 only @ An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
{J Debtor 1 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic’s lien)
Ud Atleast one of the debtors and another (2 Judgment lien from a lawsuit
C1 Other (including a right to offset)
C] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number
2.2) TERNAL REVENUE SERVICE Describe the property that secures the claim: 5 32,000.00 ¢ 525,307.00 5
Creditor's Nam a SS . aa. Ba RTT TT a ain i
mors ee single family 4br 2ba home at 4165 NW
Naber Sea ‘10th St. Delray beach, FL 33445 _

As of the date you file, the claim is: Check all that apply.
(2) Contingent
() Unliquidated

City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
O21 Debtor 1 only U) An agreement you made (such as mortgage or secured
C] Debtor 2 only car loan)
C] Debtor 1 and Debtor 2 only (@ Statutory lien (such as tax lien, mechanic's lien)
2] Atleast one of the debtors and another O21 Judgment lien from a lawsuit

1 Other (including a right to offset)
O) Check if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number 1 Ss A 4

Add the dollar value of your entries in Column A on this page. Write that number here: 172,000.00]

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

Case 24-13870-MAM Doc1_ Filed 04/23/24 Page 23 of 29

Debtor 1

CHARLOTTE GILMORE DURANTE

First Name Middle Name

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

Last Name

Case number (if known),

GREEN CORRIDOR PACE

Creditors Name

Number Street

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

O oooo

Check if this claim relates to a
community debt

Date debt was incurred

CI

Creditor’s Name

Number Street

City State ZIP Code
Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

Atleast one of the debtors and another

O oooo

Check if this claim relates to a
community debt

Date debt was incurred

J

Creditor's Name

Number Street

City State ZIP Code

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

Oo oooo

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: $

If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

Official Form 106D

Describe the property that secures the claim:
‘single family 4br 2ba home at 4165 NW
140th St. Delray beach, FL 33445

As of the date you file, the claim is: Check all that apply.

Q Contingent
(2) unliquidated
QO Disputed

Nature of lien. Check all that apply.

@ an agreement you made (such as mortgage or secured

car loan)

CJ Statutory lien (such as tax lien, mechanic's lien)

1 Judgment lien from a lawsuit
O other {including a right to offset)

Last 4 digits of account number 0

Describe the property that secures the claim:

As of the date you file, the claim is: Check all that apply.

(Contingent
2 unliquidated
Q Disputed

Nature of lien. Check all that apply.

() an agreement you made (such as mortgage or secured

car loan)

oO Statutory lien (such as tax lien, mechanic's lien)

2 Judgment lien from a lawsuit
() Other (including a right to offset)

Last 4 digits of account number

Describe the property that secures the claim:

As of the date you file, the claim is: Check all that apply.

Q Contingent
O) Unliquidated
CI Disputed

Nature of lien. Check all that apply.

2) an agreement you made (such as mortgage or secured

car loan)

2 Statutory lien (such as tax lien, mechanic's lien)

C) Judgment lien from a lawsuit
C2 Other (including a right to offset)

Last 4 digits of account number =

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

Column A Column B Column C
Amount of claim Value of collateral Unsecured
Do not deduct the that supports this —_ portion
value of collateral. claim If any

$ 63,822.00 5 525,307.00 5

4 0
$ $ $
$ $ $
63,822.00.
i 235,822.00
page2_of 3__

Debtor 1

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CHARLOTTE GILMORE DURANTE

First Name Middle Name Last Name

Case number (if known)

eae ist Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankrupt
agency is trying to collect from you for a debt you owe to someone else,

you have more than one creditor for any of thi

be notified for any debts in Part 1, do not fill out or submit this page.

L

Official Form 106D

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street ,

City

State

ZIP Code

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

cy for a debt that you already listed in Part 1. For example, if a collection
list the creditor in Part 1, and then list the collection agency here. Similarly, if
e debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to

On which line in Part 1 did you enter the creditor?

Last 4 digits of account number =

On which line in Part 1 did you enter the creditor?

Last 4 digits of account number

On which line in Part 1 did you enter the creditor?

Last 4 digits of account number 0

On which line in Part 1 did you enter the creditor?

Last 4 digits of accountnumber =

On which line in Part 1 did you enter the creditor?

Last 4 digits of accountnumber

On which line in Part 1 did you enter the creditor?

Last 4 digits of account number LL

page3_ of 3__

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Lali Una alicw ay Colman cl ifey la co) ie CVn MhAVA ele aerstx =n

Debtor 4 CHARLOTTE GILMORE DURANTE
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Southern District of Florida
Case number Check if this is:
(If known)
C} An amended filing
QA supplement showing postpetition chapter 13
income as of the following date:
Official Form 106 miro we
Schedule I: Your Income 1215

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

TERETE be scrine Employment

1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with

information about additional Employment status Q) Employed QC) Employed
employers. Not employed CJ Not employed
Include part-time, seasonal, or
self-employed work.

Occupation

Occupation may include student
or homemaker, if it applies.

Employer’s name

Employer’s address

Number Street Number Street

City State ZIP Code City State ZIP Code

How long employed there?

ea ove Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
hon-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ $
3. Estimate and list monthly overtime pay. 3. +3 + ¢
4. Calculate gross income. Add line 2 + line 3. 4) Go $

Official Form 1061 Schedule I: Your Income page 1

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Debtor1 CHARLOTTE GILMORE DURANTE

Case number (if known),

First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
a -hon-filing spouse _
Copy line 4 here > 4. $ $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $
5b. Mandatory contributions for retirement plans 5b. $ $
5c. Voluntary contributions for retirement plans Sc $ $
5d. Required repayments of retirement fund loans 5d. §$ $
5e. Insurance Se. = $ $
5f. Domestic support obligations Sf. | $
5g. Union dues 5g. § $
5h. Other deductions. Specify: 5h. +¢ + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g+5h. 6. $ $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7% | § $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ $

monthly net income. 8a. —
8b. Interest and dividends 8b. §¢ $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce $ $

settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. S$ $
8e. Social Security 8e. ¢$ 1,453.00 $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify, FOOD STAMPS st OS. 125.00 $
8g. Pension or retirement income 8g. §$ $
8h. Other monthly income. Specify: 8h. +$ +3

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. | $1,978.00 $
10. Calculate monthly income. Add line 7 + line 9. g _ 1,578.00] 4 $ =\s 4,578.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. a

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
11. $

Specify: FOOD STAMPS

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13.Do you expect an increase or decrease within the year after you file this form?

C No.

12.

1,578.00

Combined
monthly income

i Yes. Explain: WILL RENT OUT 2 ROOMS IN MY HOME

Official Form 1061

Schedule |: Your Income

page 2

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Debtor1 CHARLOTTE GILMORE DURANTE

First Name Middle Name Last Name Check if this is:
Debtor 2 :
(Spouse, if filing) First Name Middle Name Last Name Q) An amended filing
oo CNA supplement showing posipetition chapter 13
United States Bankruptcy Court for the: Southem District of Florida expenses as of the following date:
Case number WM/DD/YYYY
(if known) MM / DD/ YYYY

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ea Describe Your Household

1. Is this a joint case?

@ No. Go to line 2.
C) Yes, Does Debtor 2 live in a separate household?

Cl] No
C) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? @ No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and ( Yes. Fill out this information for Debtor 4 or Debtor 2 age with you?
Debtor 2. each dependent........cssseseseeee EE RSS SS SRRERR EESTI —— ON a
N
Do not state the dependents’ Q °
names. Yes
U) No
() Yes
C) No
O) Yes
C) No
C) Yes
CI No
QC) Yes
3. Do your expenses include A No

expenses of people other than
yourself and your dependents? 4 Yes

oe Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and oe a 734.00
any rent for the ground or lot. 4. $ -

If not included in line 4:

4a. Real estate taxes 4a. § 673.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 265.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 10.00
4d. Homeowner's association or condominium dues 4d. § 21.00

Official Form 106J Schedule J: Your Expenses page 1

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Debtor1 | CHARLOTTE GILMORE DURANTE

16.

7:

18.

19.

20.

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify; PERSONAL HYGIENE

Food and housekeeping supplies

Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.
Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
18b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

17d. Other. Specify:

Case number (if known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule J, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

6b.
6c.

16.

17a.
17b.
17c.

17d.

18.

19.

20a.
20b.
20c.
20d.
20e.

Your expenses
$
$ 300.00
$ 90.00
$ 50.00
$ 10.00
$ 150.00
$
$ 10.00
$ 5.00
$
$ 30.00
$ 10.00
$
$
$
$
$
$
$
$
$
$
$
$
$
$
$
5,

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Debtor1 | CHARLOTTE GILMORE DURANTE Case number wna

First Name Middle Name Last Name

21. Other. Specify:

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b, Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22¢. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a, Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

W No.
C) Yes. Explain here:

Official Form 106J Schedule J: Your Expenses

21.

23a.

23b.

23c.

+3
$ 2,358.00

$
$ 2,358.00
$ 1,578.00
-$ 2,358.00
$ -780.00

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